Case: 1:18-cr-00726 eocument #: 135 Filed: 02/05/24 Paget of 10 PagelD #:833 S&

ILND 245C (Rev. 03/12/2027 Asiied hu aaGt Mma ACUMEN: 123, Filed: 09-22-2023, Pag@ot-Qead® Changes with Asterisks (*))
Sheet 6 — Schedule of Payments Judgment — Page 2 of 2

DEFENDANT: ANTHONY HENRY
CASE NUMBER: 1:18-CR-00726(1)

IMPRISONMENT -

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
*45 months as to count 5 of the Indictment.

The court makes the following recommendations to the Bureau of Prisons: Defendant should be considered for Residential Drug
Treatment Program or other substance abuse program, and designation to Oxford.
Os The defendant is remanded to the custody of the United States Marshal.

[1 ‘The defendant shall surrender to the United States Marshal for this district:
Oo at on
OO sas notified by the United States Marshal.
&) The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

BJ = before 2:00 pm on ! 1/20/2023.

O sasnotified by the United States Marshal. Fe I I, Ez D

O as notified by the Probation or Pretrial Services Office.
FEB 05 20 Meoee—

THOMAS G BRUTON
RE CLERK, U.S, DISTRICT CouRT

™

I have executed this judgment as follows:

S
Defendant delivered on O1- 22-24 to Fulrce | Vorvtorn Corp at dD. Ltt \ 1h V , with a certified copy of this
judgment.

§ ' Csche, Weralan

UNITED STATES MARSHAL

py J. Ostroly CSP

DEPUTY UNITED STATES MARSHAL

Case: 1:18-cr-00726 Bocument #: 135 Filed: 02/05/24 Page of 10 PagelD #:834
Case: 1:18-cr-y0726, Document: 123, Filed: 09-22-2023, Page 3 of 10

UNITED STATES DISTRICT COURT

Northern District of Illinois
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
ANTHONY HENRY Case Number: 1:18-CR-00726(1)
USM Number: 53540-424
)
) Michael P. Gillespie
) Defendant's Attorney
THE DEFENDANT:
pleaded guilty to count(s) 5 of the Indictment.
Ci pleaded nolo.contendere to count(s) which was accepted by the court.
Oi was found guilty on count(s) after a plea-of not guilty.
The-defendant is adjudicated guilty of these offenses:
Title & Section / Nature.of Offense Offense Ended Count
18:1341.F Frauds and Swindles 08/31/2015 5

The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984,

The defendant has been found not guilty on count(s)
Count(s) 3,4,6 and 7 dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judement are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances,

Sjehafure of Judge
ohn Robert Blakey, United States District J

_WS/B2

Date /

Case: 1:18-cr-00726 Pocument #: 135 Filed: 02/05/24 Pagg’3 of 10 PagelD #:835

Case: 1:18-cr-v0726, Document: 123, Filed: 09-22-2023, Page 4 of 10
(LND 245B (Rev, 03/12/2020) Judgment m 2 Criminal Case

Sheet 2 - Imprisonmcnt . Judgment - Page 2 of8
DEFENDANT: ANTHONY HENRY
CASE NUMBER: 1:18-CR-00726(1)

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
48 months as to count 5 of the Indictment.

x The court makes the following recommendations to the Bureau of Prisons: Consistent with the needs of the Defendant and BOP,
Defendant should be considered for Residential Drug Tieatment Program or other substance abuse program, and designation to Oxford.
Q The defendant is remanded to the custody of the United States Marshal.

oO The-defendant shall surrender to the United States Marshal for this district:
o at on
oO as notified by the United States Marshal.
DS The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
BG before 2:00 pm on 11/20/2023.
oO as notified by the United States Marshal.
oO as notified by the Probation or Pretrial Services Office.

. RETURN

Thave executed this judgment as follows:

Defendant delivered on (11-22 » Cole Ve son Comp at Del, Ma , with a certified copy of this

judgment.

6. Cycle, : Walon

UNITED STATES MARSHAL

wy 3. OtaA- Csd

DEPUTY UNITED STATES MARSHAL

Case: 1:18-cr-00726 vocument #: 135 Filed: 02/05/24 Page of 10 PagelD #:836

Case: 1:18-cr-00726, Document: 123, Filed: 09-22-2023, Page 5 of 10
ILND 245B (Rev. 03/12/2020) Judgment in n Criminal Case

Sheet 3 — Supervised Release Judgment — Page 3 of 8
DEFENDANT: ANTHONY HENRY
CASE NUMBER: 1:18-CR-00726(1)

MANDATORY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3583(d)

Upon release from imprisonment, you shall be on supervised retease for a term of:
Count:5:oF the Indictment.

‘The court impases those conditions identified by checkmarks below:

‘During the period of supervised release:
(1) you shall not commit another Federal, State, or local crime.

5 (2) ‘you shall not unlawfully possess a controlled substance.

(0 (3) you shall attend a public, private, or private nonprofit offender rehabilitation program that-has been approved by the court, if
an approved program is readily available within a 50-mile radius of your legal residence. [Use.for a first conviction of a
domestic violence crime, as defined in § 3561(b).)

C] (4) you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
16913).

(5) you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.

(6) you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within 15 days of release on
supervised release and at least two periodic tests thereafter, up to 104.periodic tests for use ofa controlled substance during
each year of supervised release. [This mandatory condition may be ameliorated or suspended by the court for any defendant
if reliable sentencing information indicates a low risk of future substance abuse by the defendant.]

DISCRETIONARY CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C § 3563(b) AND
18 U.S.C § 3583(d)

mo

Discretionary Conditions — The court orders that you abide by the following conditions during the term of supervised release because such
conditions are reasonably related to the factors set forth in § 3853(a}(1) and (9}(2)(B), (C), and (D): such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in § 3553 (a)(2) (8), (C), and (); and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission purstidnt to 28 U.S.C, 994a.

The court imposes those conditions identified by checkmerks below:

During the period of supervised release:

Rl (1) you shall provide financial support to any dependents if you are financially able to do so.

Ol (2) you shall make restitution to a victim of the offense under § 3556 (but not subject to the limitation of § 3663(2) or
§ 3663A(e)(1}(A)).

1 (3) _—_-you shall give to the victims of the offense notice pursuant to the provisions of § 3558, as follows: : 2:

(4) you shall seek or work conscientiously at, lawful employment or, if you are not gainfully employed, you shail pursue
conscientiously a course of study or vocational training that will equip you for employment.

O (5) you shall refrain from engaging in the following occupation, business, or profession bearing a reasonably direct relationship

to the conduct constituting the offense, or engage in the following specified occupation, business, or profession only to a
stated-degree or under stated circumstances; (if checked yes, please indicate restriction(s)) : * - oy

Bm (6) you shall not knowingly meet or communicate with any person whom you know to be engaged, or planning

to be engaged, in criminal activity and shall not:
CQ visit the following type of places: :25: 3: | _
1 knowingly meet or communicate with the following persons: -: ..

& = ¢7) ‘you shall refrain from DO any or & excessive use of aicoho! (defined as & having a blood alcohol concentration
greater than 0.08%; or 0 ), and from any use of a narcotic drug or other controlled substance, as defined in § 102
of the Controlled Substances Act (21 U.S.C. § 802), without a prescription by a licensed medical practitioner.

(8} you shall not possess a firearm, destructive device, or other dangerous weapon.

(9) you shal) participate, at the direction of a probation officer, in a substance abuse treatment program, which may

include urine testing up to a maximum of 104 tests per year.

you shall participate, at the direction of a probation officer, in a mental health treatment program, and shall take
any medications prescribed by the mental health treatment provider.

oO you a participate, at the direction of a probation officer, in medical care; (if checked yes, please specify:

Case: 1:18-cr-00726 Bocument #: 135 Filed: 02/05/24 Pag¢5 of 10 PagelD #:837

Case: 1:18-cr-00726, Document: 123, Filed: 09-22-2023, Page 6 of 10
ILND 2458 (Rev. 03/12/2020) Judgment in a Criminal Case
Sheet 3 ~ Supervised Release Judgmont — Page 4. of 8
DEFENDANT: ANTHONY HENRY
CASE NUMBER: 1:18-CR-00726(1)

( (10) (intermitterit confinemenit): you shall remain in the custody of the Bureau.of Prisons during nights, weekends, or other
intervals of time, totaling: : :-,; [no-more than the lesser of one year ar the-term of imprisonment authorized for the
offense], during the first year of the term of supervised release (provided, however, that a condition set forth in
§3563(b)(10) shall be imposed only for a violation of a condition of supervised release in accordance with § 3583(e)(2)
and only when facilities are available) for the following period !:--“.-.

C (11) (community confinement): you shall reside:at, or participate in the program of a community corrections facility
(including a facility maintained or under contract to the Bureau of Prisons) for al! or part of the term of supervised

release, for a period of: 2. months. _
O (12) you shall work in community service for :,- ~:- : hours as directed by a probation officer.
C) (13) you shall reside in the following place er area:;’.....”"', or refrain from residing in a specified place or areas :i5)r,

(14) you shall not knowingly leave from the federal judicial district where you are being supervised, unles
granted permission to leave by the court or a probation officer. The geographic area of the Northern District of
Iilinois currently consists of the Illinois counties.of Cook, DuPage, Grundy, Kane, Kendall, Lake, LaSalle, Will,
Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and Winnebago.

(15) you shall report to the probation office in the federal judicial district to which you are released within 72 hours of your
release from imprisonment, You shall thereafter report to a probation officer at reasonable times as directed by the court
or a probation officer.

B (16) & you shal! permit a probation officer to visit you ( at any reasonable time or D as specified: '

at home at work at school BI ata community service location

other reasonable location specified by a probation officer
you shall permit confiscation of-any contraband observed in plain view of the probation officer.

3 (17) you shall notify a probation officer within 72 hours, after becoming aware of any change in residence, employer, or
workplace and, absent constitutional or other legal privilege, answer inquiries by a probation officer. You shall answer
truthfully any inquiries by a probation officer, subject to any constitutional or other legal privilege.

H (18) you shalt notify a probation officer within 72 hours if after being arrested, charged with a crime, or questioned by a law
enforcement officer.

f (19) (home confinement)

QO (a)(i) (home incarceration) for a period of __ months, you are restricted to your residence at all times except for
medical necessities and court appearances or other activities specifically approved by the court.

O —(@\(ii). (home detention) for a period of __ months, you are restricted to your residence at all times except for
employment; education; religious services; medical, substance abuse, or mental health treatment; attorney visits,
court appearances; court-ordered obligations; or other activities pre-approved by the probation officer.

O (a)(ili) (curfew) for a period of __ months, you are restricted to your residence every day.

O _ from the.times directed by the probation officer; or O from __ to __.

C —(b) your compliance with this condition, as well as other court-imposed conditions of supervision, shall be monitored
by a form of location monitoring technology selected at the discretion of the probation officer, and you shall abide

by all technology requirements.

O —(c) you shall pay all or part of the cast of the location monitoring, at the daily contractual rate, if you are financially
able-ta do so.

C (20) you shall comply with the terms of any court order or order of an administrative process pursuant fo the law of a State, the
District of Columbia, or any other possession.or territory of the United:States, requiring payments by you for the support
and maintenance of a child or of a child and the parent with whom the child is living.

(J (21) (deportation): you shall be surrendered to a duly authorized official of the Homeland Security Department for a
determination on the issue of deportability-by the appropriate authority in accordance with the laws under the Immigration
and Nationality Act and the established implementing regulations. If ordered deported, you shall not remain in or enter the
United States without obtaining, in advance, the express written consent of the United States Attorney General or the
United States Secretary of the Department of Homeland Security.

(22) you shall satisfy such other special conditions as ordered below.

(23) Yourshall submit your person, property, house, residence, vehicle, papers [computers (as defined in 18-U.S.C. 1030(€}(1)),
other electronic:communications or data .storage-devices or media,] or office, to a search conducted by 2 United States
Prabation Officer(s). Failureto submit to asearch may. be grounds for revocation of release. You shall warn any other
occupants that the premises may be subject to searches pursuant to this condition. An officer(s) may conduct a search
pursuant to this-condition only when reasonable suspicion exists that you have violated a condition of your supervision and
that the-areas to be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a
reasonable manner.

x]

Og
Case: 1:18-cr-00726 Bocument #: 135 Filed: 02/05/24 Pagg’6 of 10 PagelD #:838

Case: 1:18-cr-00726, Document: 123, Filed: 09-22-2023, Page 7 of 10
ILND 245B (Rev. 03/12/2020) Judgment in a Criminal Case

Sheet 3 — Supervised Release Judgment — Pane § of 8
DEFENDANT: ANTHONY HENRY
CASE NUMBER: 1:18-CR-00726(1)
- §% (24) Other: You shall submit your:person, property, house, residence, vehicle, or office, to a search conducted by a United
States Probation Officer(s). Failure to submit to a search may be grounds for revocation of release. You shall warn any
other occupants that the prernises may be subject to searches pursuant to this condition. An officer(s) may
conduct a search pursuant to this condition only when reasonable suspicion exists that the defendant has violated a -
condition of his supervision and that the areas to be searched contain evidence of this violation. Any search must be
conducted at a reasonable timé and in a reasonable manner.

SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C. 3563(b)(22) and 3583(d)
The court imposes those conditions identified by checkmarks below:

During the term of supervised release:

o Ww if you have not obtained a high school diploma or equivalent, you shall participate in a General Educational
Development (GED) preparation course and seek to obtain a GED within the first year of supervision.

Oo @) you shall participate in an approved job skill-training program at the direction of a probation officer within-the first 60
days of placement on supervision.

BR (3) you shall, if unemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or lay-off
from employment, perform at least 20 hours of community’ service per week at the direction of the probation office until
gainfully employed. The total amount of community service required over your term of service shall not exceed 300

hours.

{4) you shall not maintain employment where you have access to other individual's personal information, including, but not
limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer,

&} (5) ‘you shall not incur new credit charges or open additional lines of credit without the approval of a probation officer
unless you are in compliance with the financial. obligations imposed by this judgment,

(6) you shall provide a probation officer with access to any requested financial information requested by the probation
officer to monitor compliance with conditions of supervised release.

2 within 72 hours of any significant change in your economic circumstances that might affect your ability to pay
restitution, fines, or special assessments, you must notify the probation officer of the change.

(8) you shall file accurate income tax returns and pay all taxes, interest, and penalties as required by law.

O (9) youshall participate in a sex offender treatment program. The specific program and provider will be determined by a

probation officer. You shall comply with all recommended treatment which may include psychological and physiological

testing. You shall maintain use of all prescribed medications.

O = You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
United States Probation Office. You shall consent to the installation of computer monitoring software on all
identified computers to which you have access and to which the probation officer has legitimate access by right or
consent. The software may restrict and/or record any and all activity on the computer, including the capture of
keystrokes, application information, Internet use history, email correspondence, and chat conversations. A notice
will be placed on the computer at thé time of installation to warn others of the existence of the monitoring
software. You shall not remove, tamper with, reverse engineer, or in any way circumvent the software.

Os The cast of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
to satisfaction of other financial obligations imposed by this judgment.

You shall not possess or use at any location (including your place of employment), any computer, external storage
device, or any device with access to the Internet or any online computer service without the prior approval of a
probation officer. This includes any Internet service provider, bulletin board system, or any other public or private
network or email system

Ds You shall not possess any device that could be used for covert photography without the prior approval of a
probation officer.

O You shail not view or possess. child pornography. If the treatment provider determines that exposure to other

sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
to assist the treatment process, such proposed conditions shal] be promptly presented to the court,for a
determination, pursuant to 18 U.S.C. § 3583(e)(2), regarding whether to enlarge or otherwise modify the
conditions of supervision to include conditions consistent with the recommendations of the treatment provider.

QO You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put
you in unsupervised private contact with any person under the age of 18, and you shall not knowingly visit
locations where persons under the age of 18 regularly congregate, including parks, schools, school bus stops,

playgrounds, and childcare facilities. This condition does not apply to contact in the course of normal commercial
business or unintentional incidental contact
Case: 1:18-cr-00726 Document #: 135 Filed: 02/05/24 Page? of 10 PagelD #:839
Case: 1:18-cr-00726, Document: 123, Filed: 09-22-2023, Page 8 of 10

UND 245B (Rev. 03/12/2020) Judgment ina Criminal Case
3-
DEFENDANT: ANTHONY HENRY
CASE NUMBER: 1:18-CR-00726(1)

Q

(10)

(1).

(12)

(13)

(14)
(15)

ised Release Judgment — Paps 6 of 8

 __sThis condition does not apply to your family members: [Names]
© Your employment shall be restricted to the judicial district and division where you reside or are supervised, unless
approval is granted by a probation officer. Prior to accepting any form of employment, you shall seek the
approval of a probation officer, in order to allow the probation officer the. opportunity to assess the level of risk to
the community you will pose if employed in a particular capacity. You shall not participate in. any volunteer
activity that may cause you to come into direct contact with children except under. circumstances approved in
advarice by a probation officer and treatment provider.
C = You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
any other financial information requested.
© ——-You shall comply with all state and loéal laws pertaining to convicted sex offenders, including such laws that
impose restrictions beyond those set forth in this order.
you shall pay to the Clerk of the Court any financial obligation ordered herein that remains unpaid at the
commencement of the term of supervised release, at a rate of not less than 10% of the total of your gross earnings minus

federal and state income tax withholdings.

you shall not enter into any agreement to act as an informer or-special agent of a law enforcement agency without the
prior permission of the court. a.

you shall pay to the Clerk of the Court $*..° :, 88 repayment to the United States of government funds you received
during the investigation of this offense. (The Clerk of the Court shall remit the funds to: - - ClistbottrAgencysand
Address.)

if the probation officer determines that you pose a risk to another person (including an organization or members of the
community), the probation officer may require you to tell the person about the risk, and you must comply with that
instruction. Such notification could include advising the person about your record of arrests and convictions and
substance use. The probation officer may contact the person and confirm that you have told the person about the risk.

Obseive Ohé Reentry Céuirt seision as insttncted by your probation officer.

‘Wou'sheil
Other: :
Case: 1:18-cr-00726 Document #: 135 Filed: 02/05/24 Pages of 10 PagelD #:840

Case: 1:18-cr-00726, Document: 123, Filed: 09-22-2023, Page 9 of 10
ILND 2458 (Rev. 03/12/2020) Judpment in-a Criminal Case
Sheet 5 — Criminal Morictary Ponaltics Judgment — Page 7 of 8
DEFENDANT: ANTHONY HENRY
CASE NUMBER: 1:18-CR-00726(1)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

. Assessment Restitution Fine AVAA Assessment* | JVTA Assessment**
TOTALS $100.00 $610,139.00 $.00 $.00 $.00
(0 The determination of restitution is deferred until ; An Amended Judgment in a Criminal Case (40 245C) will be entered after-such

determination.
& The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shail receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664()), alf nonfederal
victims must be paid before the United States is paid.

Restitution of $568,727.00 to:

ACCOUNTS PAYABLE TD BANK, N.A.
JACKSONVILLE, FL
$77,573.00

ATTN: MARCO MORALES/ABRAHAM ELIZONDO ILLINOIS DEPA
CHICAGO, IL
$491,154.00

**Restitution of $41,412.00, jointly and severally with co-defendant Jerome Pace (1:18-cr-00726-2), to:

INTERNAL REVENUE SERVICE
KANSAS CITY, MO

5 Restitution amount ordered pursuant to plea agreement $ 610,139.00

Oo The defendant must pay interes! on restitution and a fine of more than $2,500, unless the restitution or fine is paid.in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

The court determined that the defendant does not have the ability to pay interest and it is ordered that:

a the interest requirement is waived for the $610,139.00.

Oo the interest requirement for the is modified as follows:

o The defendant’s non-exempt assets, if any, are subject to immediate execution to satisfy any outstanding restitution. or fine
obligations.

* Amy, Vicky, and Andy Child Pornography: Victim Assistance Act of 2018, Pub. L. No. 115-299,

** Justice for Victims.of Trafficking Act of 2015, Pub. L. No. 14-22.

*** Findings for the fotal emount of losses are required under Chapters 109A, 110, 1H0A, and 113A of Title 18 for offenses commifted on or after
September 13, 1994, but before April 23, 1996,
Case: 1:18-cr-00726 Bocument #: 135 Filed: 02/05/24 Page? of 10 PagelD #:841

Case: 1:18-cr-00726, Document: 123, Filed: 09-22-2023, Page 10 of 10
TLND 245B (Rev. 03/12/2020) Judgment in a Criminal Case
Shest 6 — Schedule of Payments Judgment — Page 8 of8

DEFENDANT: ANTHONY HENRY
CASE NUMBER: 1:18-CR-00726(1)}

SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A XI = Lump sum payment of $610,239.00 due immediately.

Oo balance due not later than ,or

bY balance due in accordance with Cc, OD, OE, or &I F below: or

B 1 Payment to begin immediately (may be combined with 0 C, OD, or 0 F’below); or

C [0 ___ Payment in equal (eg. weekly, monthly, quarterly) installments of $ over a period of (e.g. nonths or years), 10
commence fe.g., 30 or GO days) after the date of this judgment; or .

D Oj Payment in equal (e.g, weekly, monthly, quarterly) installments of $ over 8 period of (e.g., months or years), to
commence (¢.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E [1 = Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment.

The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F eJ = Special instructions regarding the payment of criminal monetary penalties: yau shall pay to the Clerk of the Court any financial
obligation ordered herein that remains unpaid at the commencement of the:term of supervised release, at a rate of not less than 10% of the
‘total of your gross earings minus federal and state income tax withholdings.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Joint and Several

**Restitution of $41,412.00, jointly and severally with co-defendant Jerome Pace (1:18-~cr-00726-2)

Case Number Total Amount Joint and Several Corresponding Payee, if
Defendant and Co-Defendant Names Amount Appropriate

(including defendant namber)

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

CO = The defendant shall pay the cost of prosecution.

O ‘The defendant shall pay the following court cost(s):

( The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)

fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
Case: 1:18-cr-00726 focument #: 135 Filed: 02/05/24 Pag of 10 PagelD #:842
ILND 24SC (Rev. osriaonby Rcd deg WiGmmabegcument: 123, Filed: 09-22-2048: PANG eld Phity Changes with Asterisks (*)

Sheet 1
UNITED STATES DISTRICT dourT
Northern District of IIlinois
UNITED STATES OF AMERICA AMENDED JUDGMENT IN A CRIMINAL CASE
Vv.
ANTHONY HENRY Case Number: 1:1 8-CR-00726(1)

USM Number: 53540-424
Date of Original Judgment: 9/15/2023

Michael P. Gillespie

(Or Date of Last Amended Judgment) Defendant's Attorney

Reason for Amendment: .

(2 Correction of Sentence on Remand (18 U.S.C. 3742(7}(1) and (2)) (1 Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or

CO Reduction of Sentence for Changed Circumstances (Fed. R. Crim. 3583(e))

P. 35(b)) O Modification of Imposed Term of Imprisonment for Extraordinary

CO Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a)) and Compelling Reasons (18 U.S.C. § 3582(c}(1))

& Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36) CJ Modification of Imposed Term of Imprisonment for Retroactive
Amendment(s) to the Sentencing Guidelines (18 U.S.C. §
3582(c}(2))

C2 Direct Motion to District Court Pursuant 1] 28 U.S.C. § 2255
or © 18 U.S.C. § 3559(c)(7)
C) Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
& pleaded guilty to count(s) 5 of the indictment. '
(J pleaded nolo contendere to count(s) which was accepted by the court.
C) was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Tithe & Section / Nature of Offense Offense Ended Count
18:1341.F Frauds and Swindles 08/31/2015 5

The defendant is sentenced as provided in pages 1 _ through 2 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
act of 1984. Other than the amendments or modifications stated in this judgment, the judgment previously entered shall stand. (See

ttachments)

CO) The defendant has been found not guilty on count(s)
Count(s) 3, 4, 6 and 7 dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

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Serature of Judge-
John Robert Blakey , United Sta ict ol ion

Name grid Titly’of Judge

